                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TENNESSEE
                               AT GREENEVILLE
______________________________________________________________________________

CERTAIN UNDERWRITERS AT
LLOYD’S, LONDON,

       Plaintiff,

v.                                                               No. 2:12-cv-265

WILLIAM GREENE, MAIJA GREENE,
WILLIAM L. GREENE, SR., VIVIAN
GREENE, MORRISTOWN BLOCK &
CONCRETE PRODUCTS COMPANY,
AND APPALACHIAN PRODUCTS, INC.,

      Defendants.
______________________________________________________________________________

                COMPLAINT FOR DECLARATORY JUDGMENT
______________________________________________________________________________

       Come now Certain Underwriters at Lloyd’s, London (“Underwriters”), pursuant to 28

U.S.C. § 2201 et seq. and Rule 57 of the Federal Rules of Civil Procedure, and sues the

Defendants, William Greene, Maija Greene, William L. Greene, Sr., Vivian Greene (collectively,

the “Greenes”), Morristown Block & Concrete Products Company (“Morristown Block”), and

Appalachian Products, Inc. (“Appalachian”), for declaratory judgment, and for cause of action

aver as follows:

       1.      Underwriters is a syndicate of insurers with its principal place of business in

London, England.




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       2.      Upon information and belief, William Greene and Maija Greene are resident

citizens of Jefferson County, Tennessee, who reside at 3113 Jane Street, White Pine, Tennessee

37890, where they may be served with process.

       3.      Upon information and belief, William L. Greene, Sr. and Vivian Greene are

resident citizens of Jefferson County, Tennessee, who reside at 3111 Jane Street, White Pine,

Tennessee 37890, where they may be served with process.

       4.      Upon information and belief, Morristown Block is a Tennessee corporation with

its principal place of business located in Hamblen County, Tennessee at P. O. Box 90, 5607 E.

A. Johnson Highway, Russellville, Tennessee 37860. It may be served with process through its

registered agent, Robert M. Ivens, Highway 11E, Box 97, Russellville, Tennessee 37860.

       5.      Upon information and belief, Appalachian is a Tennessee corporation with its

principal place of business located in Hamilton County, Tennessee at 612 Stimpson Drive,

Chattanooga, Tennessee 37411. It may be served with process through its registered agent, R.

Larry McGill, 612 Stimpson Drive, Chattanooga, Tennessee 37411.

       6.      Subject matter jurisdiction in this case is based on diversity of citizenship

pursuant to 28 U.S.C. § 1332(a)(1), as there is complete diversity of citizenship between the

Plaintiff and all Defendants, and the amount in controversy exceeds $75,000.00, exclusive of

interest and costs.

       7.      Venue is proper herein pursuant to 28 U.S.C. § 1391(b)(1) and (2).



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         8.      Effective December 3, 2007 and expiring December 3, 2008, Underwriters issued

policy number TPATE003195 (the “Policy”). Blue Ridge Material Corporation is the named

insured on the Policy. Underwriters incorporate herein by reference as if fully set forth all the

terms and conditions of the Policy, a true and correct copy of which is attached hereto as Exhibit

A.

         9.      On or about March 6, 2009, William Greene and Maija Greene filed a lawsuit

against Morristown Block in the Circuit Court for Hamblen County, Tennessee at Morristown

with docket number 09CV056 (the “Lawsuit”). A true and correct copy of the Complaint filed in

the Lawsuit is attached hereto as Exhibit B and incorporated herein by reference as if fully set

forth.

         10.     On or about February 15, 2010, an Amended Complaint was filed which added

William L. Greene, Sr. and Vivian Greene as plaintiffs in the Lawsuit. A true and correct copy

of the Amended Complaint is attached hereto as Exhibit C and incorporated herein by reference

as if fully set forth.

         11.     On or about May 14, 2010, the Greenes filed a Second Amended Complaint in the

Lawsuit against Morristown Block, Blue Ridge Materials, Inc., Appalachian, and Tennessee

Valley Authority (“TVA”). A true and correct copy of the Second Amended Complaint is

attached hereto as Exhibit D and incorporated herein by reference as if fully set forth. The

Greenes’ attorney served Blue Ridge Materials, Inc. with the Second Amended Complaint via



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certified mail, return receipt requested, on or about June 14, 2011. The Greenes subsequently

non-suited their claims against TVA so that TVA is no longer a defendant in the Lawsuit.

       12.     On or about April 25, 2011, Morristown Block filed its Answer to the Second

Amended Complaint and Cross-Claims Against Blue Ridge Materials, Inc. and Appalachian. A

true and correct copy of this pleading is attached hereto as Exhibit E and incorporated herein by

reference as if fully set forth. On or about June 1, 2011, Morristown Block filed a Motion for

Default Judgment against Blue Ridge Materials, Inc. based on its failure to file an Answer to

Morristown Block’s Cross-Claim. A true and correct copy of this motion is attached hereto as

Exhibit F and incorporated herein by reference as if fully set forth.

       13.     On or about May 4, 2011, Appalachian filed its Answer to Morristown Block’s

Cross-Claim, a Counterclaim against Morristown Block, and a Cross-Claim against Blue Ridge

Materials, Inc. A true and correct copy of this pleading is attached hereto as Exhibit G and

incorporated herein by reference as if fully set forth.

       14.     In the Lawsuit, the Greenes seek to recover damages that they allegedly sustained

as a result of their purchase of approximately 6,000 concrete blocks that they purchased from

Morristown Block in August 2007 with the intention of constructing a house on property owned

by them at 3113 Jane Street, White Pine, Tennessee. The Greenes allege that these concrete

blocks are defective because they contain iron ferrite which has caused rust to appear in the

blocks and which requires that the entire house be torn down and scrapped due to problems with



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the appearance and structural integrity of the blocks. The Greenes allege various causes of

action against Morristown Block, Blue Ridge Materials, Inc., and Appalachian, all of which arise

out of the allegedly defective condition of the concrete blocks. The Greenes seek damages in

excess of $500,000.00.

       15.     The Cross-Claims filed by Morristown Block and Appalachian against Blue

Ridge Materials, Inc. allege that Blue Ridge Materials, Inc. supplied the raw materials used to

manufacture the allegedly defective concrete blocks, that these raw materials were defective, and

that the allegedly defective nature of the concrete blocks was caused by Blue Ridge Materials,

Inc. The Cross-Claims allege various causes of action against Blue Ridge Materials, Inc., all of

which arise out of the allegedly defective raw materials used in the manufacture of the allegedly

defective concrete blocks, and seek contribution and indemnity from Blue Ridge Materials, Inc.

on the basis of these allegations.

       16.     On or about August 4, 2011, Blue Ridge Materials, Inc. filed a Voluntary Chapter

7 Bankruptcy Petition in the United States Bankruptcy Court for the Eastern District of

Tennessee at Winchester with docket number 4:11-bk-14254 (the “Bankruptcy Proceeding”).

On or about November 14, 2011, Morristown Block filed a Motion for Relief from the

Automatic Stay in which it sought relief from the automatic bankruptcy stay in order to pursue

its Cross-Claim against Blue Ridge Materials, Inc., provided that it would not seek to recover

from the assets of the bankruptcy estate but instead would seek to recover only from Blue Ridge



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Materials, Inc.’s insurance policies. The Bankruptcy Court granted this motion on or about

January 20, 2012, thereby allowing Morristown Block to pursue its Cross-Claim against Blue

Ridge Materials, Inc. in the Lawsuit, provided that Morristown Block limits its recovery to the

proceeds of Blue Ridge Materials, Inc.’s insurance policies.

       17.     On or about April 3, 2012, Morristown Block’s attorney, Evan E. Hauser, sent a

letter to Underwriters in which he requested that Underwriters provide a defense to Blue Ridge

Materials, Inc. in the Lawsuit. A true and correct copy of this letter is attached hereto as Exhibit

H and incorporated herein by reference as if fully set forth. In the letter, Mr. Hauser stated that

Morristown Block had a Motion for Default Judgment pending against Blue Ridge Materials,

Inc. in the Lawsuit and that if Underwriters did not provide a defense for Blue Ridge Materials,

Inc. within thirty days of the date of his letter, then he would obtain a default judgment against

Blue Ridge Materials, Inc. and then file a declaratory judgment action against Underwriters to

determine whether Morristown Block’s damages are covered by the Policy.

       18.     The Policy includes Commercial General Liability Coverage which provides, in

pertinent part, as follows:

               1.      Insuring Agreement

               a.      We will pay those sums that the insured becomes legally obligated
                       to pay as damages because of “bodily injury” or “property
                       damage” to which this insurance applies. We will have the right
                       and duty to defend the insured against any “suit” seeking those
                       damages. However, we will have no duty to defend the insured
                       against any “suit” seeking damages for “bodily injury” or
                       “property damage” to which this insurance does not apply. We


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                       may, at our discretion, investigate any “occurrence” and settle any
                       claim or “suit” that may result. …

                             *                     *                   *

             b.        This insurance applies to “bodily injury” and “property damage”
                       only if:

                       (1)       The “bodily injury” or “property damage” is caused
                                 by an “occurrence” that takes place in the
                                 “coverage territory”;

                       (2)       The “bodily injury” or “property damage” occurs
                                 during the policy period; …



       19.   With regard to notice, the Commercial General Liability Coverage provides as

follows:

             2.   Duties In The Event Of Occurrence, Offense, Claim or Suit

                   a. You must see to it that we are notified as soon as practicable of an
                      “occurrence” or an offense which may result in a claim. To the
                      extent possible, notice should include:

                        (1)      How, when and where the “occurrence” or offense
                                 took place;

                        (2)      The names and addresses of any injured persons and
                                 witnesses; and

                        (3)      The nature and location of any injury or damage
                                 arising out of the “occurrence” or offense.

                  b.    If a claim is made or “suit” is brought against any insured, you
                        must:

                        (1)      Immediately record the specifics of the claim or
                                 “suit” and the date received; and

                        (2)      Notify us as soon as practicable.

                        You must see to it that we receive written notice of the



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                        claim or “suit” as soon as practicable.

                  c.    You and any other involved insured must:

                        (1)   Immediately send us copies of any demands,
                              notices, summonses or legal papers received in
                              connection with the claim or “suit”;

                        (2)   Authorize us      to   obtain   records   and   other
                              information;

                        (3)   Cooperate with us in the investigation or settlement
                              of the claim or defense against the “suit”; and

                        (4)   Assist us, upon our request, in the enforcement of
                              any right against any person or organization which
                              may be liable to the insured because of injury or
                              damage to which this insurance may also apply.

                  d.    No insured will, except at that insured’s own cost, voluntarily
                        make a payment, assume any obligation, or incur any expense,
                        other than for first aid, without our consent.

       20.     The Commercial General Liability Coverage contains the following exclusions:

                  m.    Damage To Impaired Property Or Property Not Physically
                        Injured

                        “Property damage” to “impaired property” or property
                        that has not been physically injured, arising out of:

                        (1)   A defect, deficiency, inadequacy or dangerous
                              condition in “your product” or “your work”; or

                        (2)   A delay or failure by you or anyone acting on your
                              behalf to perform a contract or agreement in
                              accordance with its terms.

                       This exclusion does not apply to the loss of use of other
                       property arising out of sudden and accidental physical
                       injury to “your product” or “your work” after it has been
                       put to its intended use.

       21.     The Commercial General Liability Coverage contains the following pertinent

definitions:



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            8.    “Impaired property” means tangible property, other than “your
                  product” or “your work”, that cannot be used or is less useful
                  because:

                  a.       It incorporates “your product” or “your work” that is
                           known or thought to be defective, deficient,
                           inadequate or dangerous; or

                  b.       You have failed to fulfill the terms of a contract or
                           agreement;

                  if such property can be restored to use by:

                  a.       The repair, replacement, adjustment or removal of
                           “your product” or “your work”; or

                  b.       Your fulfilling the terms of the contract or
                           agreement.

                       *                     *                     *

           13.    “Occurrence” means an accident, including continuous or repeated
                  exposure to substantially the same general harmful conditions.

                       *                     *                     *

            16.   “Products-completed operations hazard”:

                  a.       Includes all “bodily injury” and “property damage”
                           occurring away from premises you own or rent and
                           arising out of “your product” or “your work” …

                       *                     *                     *

            17.   “Property damage” means:

                  a.       Physical injury to tangible property, including all
                           resulting loss of use of that property. All such loss
                           of use shall be deemed to occur at the time of the
                           physical injury that caused it; or

                  b.       Loss of use of tangible property that is not
                           physically injured. All such loss of use shall be
                           deemed to occur at the time of the “occurrence”
                           that caused it.




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                             *                      *                     *

               21.      “Your product”:

                        a.       Means:

                                 (1)      Any goods or products, other than real
                                          property, manufactured, sold, handled,
                                          distributed or disposed of by:

                                          (a)    You;

                                          (b)    Others trading under your name; or

                                          (c)    A person or organization whose
                                                 business or assets you have acquired;
                                                 and

                                 (2)      Containers (other than vehicles), materials,
                                          parts or equipment furnished in connection
                                          with such goods or products.

                        b.       Includes

                                 (1)      Warranties or representations made at any
                                          time with respect to the fitness, quality,
                                          durability, performance or use of “your
                                          product”; and

                                 (2)      The providing of or failure to provide
                                          warnings or instructions.

                        c.       Does not include vending machines or other
                                 property rented to or located for the use of others
                                 but not sold.

        22.    The Commercial General Liability Coverage contains an endorsement which

 provides as follows:

                         EXCLUSION – Losses, Claims and Litigation
                              Preceding Inception of Policy

        This insurance does not apply to any “bodily injury”, “property damage”,
        “personal injury” or “advertising injury” nor do we have a duty to defend




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        1.      Any damage, loss, cost or expense which began to occur, in whole or part,
        before the inception date of this policy and which continues into the policy period
        regardless of whether any person (including the insured) knew or had reason to
        know of any damage, loss, cost or expense;

        2.     Any claim, suit, action, demand, arbitration, alternative dispute resolution
        which arose before the inception date of this policy

        (a)   regardless of whether the insured knew of any such claim, suit, action,
        demand, arbitration or alternative dispute resolution and

        (b)     irrespective of whether ultimate liability or the final amount of damages,
        loss, cost or expense has or has not been established.

        This policy applies only to damage, loss, cost or expense, which first occurs in the
        policy period.

         ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN
                             UNCHANGED

        23.     The Policy defines “property damage,” in pertinent part, as “[p]hysical injury to

 tangible property, including all resulting loss of use of that property.” In the Lawsuit, the

 Greenes have alleged that the allegedly defective raw materials supplied by Blue Ridge

 Materials, Inc. caused the concrete blocks with which they were constructing their house to rust.

 The only alleged damage that has occurred is to the concrete blocks themselves. Therefore, there

 has been no “property damage” within the meaning of the Policy, and Underwriters respectfully

 request that this Court declare that there is no coverage under the Policy for the claims asserted

 by the Greenes, Morristown Block, and Appalachian for this reason and also declare that

 Underwriters have no duty to defend Blue Ridge Materials, Inc. against these claims for this

 reason. If it is determined that there has been “property damage” within the meaning of the

 Policy and that there otherwise is coverage under the Policy for the claims asserted by the



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 Greenes, Morristown Block, and Appalachian, which Underwriters deny, then any recovery

 under the Policy should be limited to the amount that the Greenes paid for the allegedly defective

 concrete blocks.

        24.     The Policy provides that “[i]f a claim is made or ‘suit’ is brought against any

 insured,” the insured must notify Underwriters in writing of the claim or suit “as soon as

 practicable” and must “[i]mmediately send [Underwriters] copies of any demands, notices,

 summonses or legal papers received in connection with the claim or “’suit’ …” The insured on

 the Policy has never made a claim for the matters at issue in the Lawsuit and has never sent

 Underwriters copies of any documents received in connection with the Lawsuit. Instead, the

 only claim of which Underwriters have been notified was made by Morristown Block’s attorney,

 Evan E. Hauser, on or about April 3, 2012. Although the Second Amended Complaint which

 added Blue Ridge Materials, Inc. as a defendant was filed on or about May 14, 2010 and served

 on Blue Ridge Materials, Inc. on or about June 14, 2010, Underwriters did not receive notice of

 any alleged claim until Mr. Hauser sent his letter to Underwriters almost two years later. The

 insured thus has breached the notice provisions of the Policy, and Underwriters have been

 prejudiced by this breach. Therefore, Underwriters respectfully request that this Court declare

 that there is no coverage under the Policy for the claims asserted by the Greenes, Morristown

 Block, and Appalachian for this reason and also declare that Underwriters have no duty to defend

 Blue Ridge Materials, Inc. against these claims for this reason.



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        25.     The Policy provides for products-completed operations hazard, which is defined,

 in pertinent part, as “all ‘bodily injury’ and ‘property damage’ occurring away from premises

 you own or rent and arising out of ‘your product’ or ‘your work’ …”. There is an exclusion in

 the Policy which excludes coverage for “’[p]roperty damage’ to ‘impaired property’ or property

 that has not been physically injured, arising out of … [a] defect, deficiency, inadequacy or

 dangerous condition in ‘your product’ or ‘your work’ …” .          The Policy defines impaired

 property, in pertinent part, as “tangible property, other than ‘your product’ or ‘your work’, that

 cannot be used or is less useful because … [i]t incorporates ‘your product’ or ‘your work’ that is

 known or thought to be defective, deficient, inadequate or dangerous… if such property can be

 restored to use by … [t]he repair, replacement, adjustment or removal of ‘your product’ or ‘your

 work’…”.

        26.     The Greenes in the Second Amended Complaint, as well as Morristown Block

 and Appalachian in their Cross-Claims against Blue Ridge Materials, Inc., allege that Blue Ridge

 Materials, Inc. supplied defective raw materials to Morristown Block which resulted in the

 concrete blocks that Morristown Block manufactured being defective. The Greenes allege that

 these defective concrete blocks were used in the construction of their house and that they had to

 cease construction of the house because of the defective nature of the blocks. The Greenes

 allege that the defective nature of the blocks requires that the entire house be torn down and

 scrapped.    Based on these allegations, the Greenes’ house constitutes impaired property under



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 the terms of the Policy. Therefore, the exclusion for property damage to impaired property

 arising out of a defect in the insured’s product applies to exclude coverage for the claims asserted

 by the Greenes, Morristown Block, and Appalachian. Underwriters respectfully request that this

 Court declare that there is no coverage under the Policy for these claims for this reason and also

 declare that Underwriters have no duty to defend Blue Ridge Materials, Inc. against these claims

 for this reason.

         27.        For the foregoing reasons, Underwriters respectfully request that this Court

 declare that there is no coverage under the Policy for the claims asserted by the Greenes,

 Morristown Block, and Appalachian against Blue Ridge Materials, Inc. in the Lawsuit and also

 declare that Underwriters have no duty to defend Blue Ridge Materials, Inc. against these claims

 in the Lawsuit.

         28.        In addition, there may be no coverage under the Policy for the claims asserted by

 the Greenes, Morristown Block, and Appalachian, and Underwriters may have no duty to defend

 Blue Ridge Materials, Inc. against these claims, for the following reasons:

         a.         There may not have been an “occurrence”, as required by the Policy.

         b.         There may not have been an accident, as required by the Policy.

         c.         Any alleged “property damage” may not have occurred during the Policy period,
                    as required by the Policy.

         d.         Any alleged “property damage” may have begun to occur, in whole or part, before
                    the inception date of the Policy.

         e.         The claim may have arisen before the inception date of the Policy.

         f.         Any alleged negligence may not have occurred during the Policy period.

         g.         Any alleged “occurrence” may not have occurred during the Policy period.



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        h.      Any alleged accident may not have occurred during the Policy period.

        i.      There may have been misrepresentations contained in the Policy application,
                including but not limited to the loss history of the insured, which would render the
                Policy void ab initio.

        j.      Underwriters note that the name of the Defendant in the Lawsuit is Blue Ridge
                Materials, Inc., while the named insured on the Policy is Blue Ridge Material
                Corporation.

        k.      Any and all other reasons contained in the terms of the Policy, the laws of the
                State of Tennessee, or otherwise.

        29.     In the event that it is determined through the discovery process in this case that

 any of the foregoing factors in paragraph 28 exist, Underwriters respectfully request that this

 Court declare that there is no coverage under the Policy for the claims asserted by the Greenes,

 Morristown Block, and Appalachian based on any such factors and also declare that

 Underwriters have no duty to defend Blue Ridge Materials, Inc. against these claims based on

 any such factors.

        30.     In addition, Underwriters respectfully request that this Court declare that there is

 no coverage under the Policy for the claims asserted by the Greenes, Morristown Block, and

 Appalachian and also declare that Underwriters have no duty to defend Blue Ridge Materials,

 Inc. against these claims for any and all other reasons contained in the Policy, the application for

 the Policy, or the laws of the State of Tennessee.

        WHEREFORE, PREMISES CONSIDERED, Certain Underwriters at Lloyd’s, London,

 pray that this Court enter a declaratory judgment that there is no coverage under the Policy for

 the claims asserted by the Greenes, Morristown Block, and Appalachian against Blue Ridge

 Materials, Inc. in the Lawsuit and that Underwriters have no duty to defend Blue Ridge

 Materials, Inc. against these claims, and for such other relief to which it may show itself justly




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 entitled.


                                    Respectfully submitted,

                                    BRATTON, O’NEAL & THORP, P.C.


                                    By_/s/ Gregory W. O’Neal__________
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